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             IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON

                                             Case No. 3:14 CR 00267 (BR)
UNITED STATES OF AMERICA,
         Plaintiff,                          MOTION TO WITHDRAW SECTION
    vs.                                      2255 MOTION


RAUL ARCILA
         Defendant.


      Raul Arcila, through his counsel Michael R. Levine, moves to withdraw

his previously filed pro se 2255 motion. This motion is based on the files and

records of this case and the attached declaration of counsel.

                                         /s/ Michael R. Levine




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             DECLARATION OF MICHAEL R. LEVINE

I, Michael R. Levine, declare as follows:

1. I represent Mr. Raul Arcila who filed a pro se motion to vacate his
conviction in this case, pursuant to 28 U.S.C § 2255.

2. I have conveyed to Mr. Arcila a declaration by his previous attorney, Mr.
Sepp. I have also conveyed to him a pathologist’s report from an expert
retained by me.

3. Mr. Arcila has advised me (via Corrlinks) that he concurs in this motion to
withdraw his Section 2255 motion.

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING
IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE AND
BELIEF.

                                        /s/Michael R. Levine
                                           Michael R. Levine




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